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     Assistant Federal Defender
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 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     CRYSTAL RUSSO
 7
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:11-cr-0198 MCE
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   CRYSTAL RUSSO et al.,           )
                                     )
17                  Defendants.      )     Date: June 27, 2013
                                     )     Time: 9:00 a.m.
18   _______________________________ )     Judge: Hon. Morrison C. England
19
20        IT IS HEREBY STIPULATED AND AGREED between defendant, Crystal Russo,
21   through her attorney, Timothy Zindel, and plaintiff, United States of
22   America, through its attorney, Daniel S. McConkie, that the status
23   conference as to defendant Russo, scheduled for June 27, 2013, may be
24   continued to July 18, 2013, at 9:00 a.m.
25        The government has requested additional time to investigate Ms.
26   Russo’s defense to the charges.     Counsel met during the week of March 18
27   to discuss the defense investigation and provide information relative to
28   Ms. Russo’s defense.     The government has yet to advise defense counsel
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 1   about how it wishes to proceed.          The parties therefore agree that the
 2   ends of justice served by this continuance outweigh the best interests of
 3   the public and the defendant in a speedy trial and that time under the
 4   Speedy Trial Act should be excluded through July 18, 2013, pursuant to 18
 5   U.S.C. § 3161(h)(1)(g) and (h)(7)(a) and (b)(IV).
 6
 7                                             Respectfully submitted,
 8                                             HEATHER E. WILLIAMS
                                               Federal Defender
 9
     Dated:    June 25, 2013                   /s/ T. Zindel
10                                             TIMOTHY ZINDEL
                                               Assistant Federal Defender
11                                             Attorney for CRYSTAL RUSSO
12
                                               BENJAMIN B. WAGNER
13                                             United States Attorney
14   Dated:    June 25, 2013                   /s/ T. Zindel for D. McConkie
                                               DANIEL S. McCONKIE
15                                             Assistant U.S. Attorney
16
17                                        O R D E R
18         The status conference is continued to July 18, 2013, at 9:00 a.m.
19   The Court finds that the ends of justice to be served by a continuance
20   outweigh the best interests of the public and the defendant in a speedy
21   trial, for the reasons stated above, and orders time excluded through the
22   status conference on July 18, 2013.
23         IT IS SO ORDERED.
24   Date: June 25, 2013
25   _____________________________________
26                                        _____________________________________________
                                          MORRISON C. ENGLAND, JR., CHIEF JUDGE
27                                        UNITED STATES DISTRICT COURT
28


     Stip & Order                             -2-
